    Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 1 of 12



                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ANTHONY DOE, by and through         )
his mother and next friend, Brenda C.,
                                    )
                                    )
      Plaintiffs,                   )
                                    )
v.                                  )
                                    ) Civil Action No. 3:15-cv-30029KAR
EAST LONGMEADOW PUBLIC              )
SCHOOLS                             )
                                    )
and                                 )
                                    )
BUREAU OF SPECIAL EDUCATION         )
APPEALS,                            )
                                    )
      Defendants.                   )
____________________________________)


          DEFENDANT EAST LONGMEADOW PUBLIC SCHOOLS’
          OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO
       SUPPLEMENT THE RECORD WITH ADDITIONAL TESTIMONY
                    AND ADDITIONAL EVIDENCE

       The Defendant, East Longmeadow Public Schools, (hereinafter, “East

Longmeadow”), by and through its attorney, herewith respectfully submits its Opposition

to Plaintiff’s Motion for Leave to Supplement the Record with Additional Testimony and

Additional Evidence.

                                     Introduction

       The Parent filed a Hearing Request with the Bureau of Special Education Appeals

(“BSEA”) seeking retroactive reimbursement and prospective placement for her July

2014 unilateral placement of her son (hereinafter, “the Student”) at The Speech Academy

in Easton, Connecticut.



                                          1
    Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 2 of 12



       A due process hearing in this matter was held on October 14, 15, and 16, 2014. In

a comprehensive decision issued on December 18, 2014, the Hearing Officer found that

“the weighty preponderance of the credible evidence supports a finding that the 2014-

2015 Individualized Education Program (“IEP”) developed by East Longmeadow is

reasonably calculated to ensure that the Student receives a free appropriate public

education [FAPE] in the least restrictive setting.” The Hearing Officer concluded there

was “ample evaluative, observational, and anecdotal evidence” to support East

Longmeadow’s continued emphasis on developing multi-model, multi-channel functional

communication strategies and options for the Student.       “All the school-based and

independent providers and evaluators recommend continuing to offer and to strengthen

multiple communication opportunities for the Student. I find that the proposed 2014-

2015 IEP will do that. Only the Parent seeks an exclusive focus on speech development.”

       The Parent appealed the BSEA Decision to this Court. On June 30, 2015, the

Parent filed a Motion for Leave to Supplement the Record with Additional Testimony

and Additional Documents regarding the Student’s progress at The Speech Academy

since the time of the BSEA hearing. East Longmeadow opposes this Motion.

                                   Standard of Review

       In Lessard v. Wilton-Lyndeborough Cooperative School District, 518 F.3d 18 (1st

Cir. 2008), the First Circuit Court of Appeals held the following with regard to the

applicable standard of review for the district court:

       “In reviewing the hearing officer’s decision, the district court is tasked
       with determining the IEP’s appropriateness on the basis of the
       preponderance of the evidence. See 20 U.S.C. §1415(i)(2)(B). Judges are
       not trained pedagogues, and they must accord deference to the state
       agency’s application of its specialized knowledge. See Renner v. Bd. Of
       Educ. Of Pub. Schs. Of Ann Arbor, 185 F.3d 635, 641 (6th Cir. 1999)



                                              2
    Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 3 of 12



       (remarking that “federal courts are generalists with no expertise in the
       educational needs of handicapped children”) (citation and internal
       quotation marks omitted); see also Gonzalez v. P.R. Dep’t of Educ., 254
       F.3d 350, 352 (1st Cir. 2001) (noting that a district court, faced with
       conflicting expert testimony anent educational placement, may justifiably
       feel “bound to affirm” the state agency’s determination). As a result,
       judicial review falls somewhere between the highly deferential clear-error
       standard and the non-deferential de novo standard. See Roland M. v.
       Concord School Committee, 910 F.2d 983, 989 (1st Cir. 1990).

       The IDEA’s requirement that a reviewing court “base its decision on the

‘preponderance of the evidence’ is by no means an invitation to the courts to substitute

their own notions of sound educational policy for those of the school authorities which

they review.” Board of Education v. Rowley, 458 U.S. 176, 206 (1982); Doe v. Attleboro

Pub. Schools (D. Mass. Aug. 31, 2011). To the contrary, “[a]lthough the exact quantum

of weight is subject to the district judge’s exercise of informed discretion, the judge is not

at liberty either to turn a blind eye to administrative findings or to discard them without

sound reason.” Lenn v. Portland Sch. Comm., 998 F.2d 1083, 1087 (1st Cir. 1993)

(citations omitted). Thus, the level of scrutiny applied to administrative decisions under

the IDEA “requires a more critical appraisal of the agency determination than clear-error

review entails, but which, nevertheless, falls well short of complete de novo review.” Id.

At 1086; see also Lessard v. Wilton-Lyndeborough Coop. Sch. Dist., 518 F.3d 18, 24 (1st

Cir. 2008). The First Circuit has described this “intermediate level of review as ‘one of

involved oversight.’” Lenn v. Portland School Committee, 998 F.2d 1083 (1st Cir. 1993).

       Because courts must give due deference to the special expertise of administrative

hearing officers, the standard for admitting supplemental evidence is narrowly construed.

Lessard v. Wilton-Lyndeborough Cooperative School District, 518 F.3d 18 (1st Cir.

2008); Roland M. v. Concord School Committee, 910 F.2d 773 (1st Cir. 1984).




                                              3
    Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 4 of 12



       When a school or a parent invokes the right to judicial review, the IDEA instructs

that the court “shall receive the records of the administrative proceedings; shall hear

additional evidence at the request of a party; and basing its decision on the preponderance

of the evidence, shall grant such relief as the court determines is appropriate. Id. At 20

U.S.C. §1415(i)(2)(C).

       The First Circuit first addressed the issue of what constitutes “additional

evidence” under the IDEA in Burlington v. Dept. of Educ. For Com. Of Mass., 736 F.2d

773 (1st Cir. 1984). In Burlington, the court explained that admitting evidence that

duplicates or embellishes evidence already considered at the administrative hearing

would be “entirely inconsistent with the unusual meaning of ‘additional’” and, instead,

read “additional” to mean “supplemental.” The court offered examples of instances in

which additional evidence may supplement the administrative record, such as “gaps in

the administrative transcript owing to mechanical failure, unavailability of a witness, an

improper exclusion of evidence by the administrative agency, and evidence concerning

relevant events occurring subsequent to the administrative hearing.”

       The First Circuit offered this list in light of the Supreme Court’s then-record

directive in Board of Educ. of Hendrick Hudson Central School Dist., Westchester

County v. Rowley, 458 U.S. 176, 206 (1982), that “a reviewing court must give the

findings of the administrative hearing due weight, noting, in effect, that less stringent

standards for admitting new evidence would run afoul of that directive.” See Burlington,

736 F.2d at 790. “We are fortified in this interpretation because it structurally assists in

giving due weight to the administrative proceedings, as Rowley requires.” See, also I.M.

v. Northampton Public Schools, et al Civil Action No. 11-30214-KPN.




                                             4
     Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 5 of 12



       This approach was reinforced several years later when the court explained that “a

party seeking to introduce additional evidence at the district court level must provide

some solid justification for doing so.” Roland M. v. Concord Sch. Comm., 910 F.2d 983

at 996 (1st Cir. 1990). “In the absence of special circumstances,” the First Circuit

continued, “courts should ordinarily exercise th[e] discretion [to consider testimony on

judicial review] in favor or excluding the belatedly offered evidence.” Id. at 997.

       In essence, Burlington and Roland obligate a court to “weigh heavily the

important concerns of not allowing a party to undercut the statutory role of administrative

expertise, the unfairness involved in one party’s reserving its best evidence for trial, the

reason the witness did not testify at the administrative hearing, and the conservation of

judicial resources.” Roland M., 910 F.2d 983 at 996 (1990) (quoting Burlington, 736

F.2d at 791). “To do otherwise would run contrary to both the First Circuit’s directives

and the spirit of the IDEA, the purpose of which is to provide streamlined judicial review

to ensure that disabled children are accorded appropriate education plans in a timely

manner.” Id.

                                        Argument

1.     The Plaintiff’s Motion for Leave to Supplement the Record with Additional
       Testimony and Additional Documents is contrary to the First Circuit’s
       holdings in Burlington, Roland M., and Lenn.

       The Plaintiff has requested that the Court grant him leave to present testimony

from his mother and the Director of The Speech Academy regarding “evidence of

Anthony’s progress…since the time of the BSEA hearing.” Both of these witnesses

testified extensively at the BSEA hearing. The Plaintiff also wishes to introduce progress




                                             5
     Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 6 of 12



reports from July 2014 through June 2015 which postdate the BSEA hearing and

Decision.

        The First Circuit stated the following in Town of Burlington v. Dept. of Educ.,

Comm. Of Mass., 736 F.2d 773 (1984) at 790: “We believe that the key to the review

authorized by the Act lies in the ‘additional evidence’ clause. We construe “additional”

in the ordinary sense of the word, Perrin v. United States, 444 U.S., 37, 42, 100 S.Ct.

311, 314, 62 L.Ed.2d 199 (1980), to mean supplemental.1 “Thus construed, this clause

does not authorize witnesses at trial to repeat or embellish their prior administrative

hearing testimony; this would be entirely inconsistent with the usual meaning of

“additional.” We are fortified in this interpretation because it structurally assists in

giving due weight to the administrative proceeding, as Rowley requires.”                      Town of

Burlington v. Dept. of Educ., Comm. Of Mass., 736 F.2d 773 (1984), citing Rowley 458

U.S. at 206, 102 S.Ct. at 3051. A trial court must make an independent ruling2 based on

the preponderance of the evidence, but the Act contemplates that the source of the

evidence generally will be the administrative hearing record, with some supplementation

at trial. The reasons for supplementation will vary; they might include gaps in the

administrative transcript owing to mechanical failure, unavailability of a witness, an

improper exclusion of evidence by the administrative agency, and evidence concerning

relevant events occurring subsequent to the administrative hearing. The starting point for

determining what additional evidence should be received, however, is the record of the

administrative proceeding.”



1
 We have found no legislative history to guide us on the construction to be given “additional evidence.”
2
 See S.Conf.Rep. No. 94-455 at 50, reprinted in U.S.Code Cong. & Ad.News 1975 at 1503; Rowley at 205,
102 S.Ct. at 3051.


                                                   6
    Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 7 of 12



       “The determination of what is “additional” evidence must be left to the
       discretion of the trial court which must be careful not to allow such
       evidence to change the character of the hearing from one of review to a
       trial de novo. A practicable approach, we believe, is that an administrative
       hearing witness is rebuttably presumed to be foreclosed from testifying at
       trial. A motion may then be made to allow such a witness to testify within
       the specified limits stating the justification for the testimony. In ruling on
       motions for witnesses to testify, a court should weigh heavily the
       important concerns of not allowing a party to undercut the statutory role of
       administrative expertise, the unfairness involved in one party’s reserving
       its best evidence for trial, the reason the witness did not testify at the
       administrative hearing, and the conservation of judicial resources.” Id., at
       790.

       The Burlington court held that “[a] further question remains: whether any special

deference is to be accorded the administrative findings.          The statute requires the

reviewing court to ‘receive the records of the administrative proceedings,’ §1415(e)(2)

(emphasis added) and Rowley mandates that “due weight” shall be accorded to the

“proceedings.” Town of Burlington v. Dept. of Educ., Comm. Of Mass., 736 F.2d 773

(1984) at 791, citing Rowley 458 U.S. at 206, 102 S.Ct.

       Here, the Plaintiff is attempting to do exactly what the Court in Burlington

specifically prescribed against: to present witnesses at trial who will “embellish their

prior administrative hearing testimony.” In addition, the Plaintiff’s proferred evidence

may change the character of this matter “from one of review to a trial de novo.” Just as

an IEP is a snapshot, not a retrospective – what was objectively reasonable when the

snapshot was taken, that is, at the time the IEP was promulgated, Roland M., 910 F.2d

992 – so, too, a hearing officer must base her findings and conclusion on the evidence

presented at the time of hearing, not nine (9) months later. Plaintiff has presented no

compelling justification to overturn the rebuttable presumption announced in Burlington

that an administrative hearing witness “be foreclosed from testifying at trial.” Id., at 791.




                                             7
    Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 8 of 12



Plaintiff’s argument to submit additional documents and testimony would be applicable

to all appeals of BSEA decision, a result clearly not contemplated by the First Circuit

Court of Appeals. Retroactive reimbursement is the most common type of BSEA hearing

request. To submit additional evidence here would apply to all parental appeals of

administrative decisions upholding school districts’ IEP’s, with the unintended

consequence that such cases would be neverending.

       The First Circuit provided further clarification of the IDEA’s additional evidence

clause in Roland M., v. Concord School Committee, 910 F.2d 993 (1st Cir. 1990). In

reviewing the district court’s referral to receive additional testimony, the Court of

Appeals stated the following:

       We start with bedrock. A court’s customary discretion in evidentiary
       matters is channeled by the special goals and procedures of the Act. See
       Burlington II, 736 F.2d at 791. As a means of assuring that the
       administrative process is accorded its due weight and that judicial review
       does not become a trial de novo, thereby rendering the administrative
       hearing nugatory, a party seeking to introduce additional evidence at the
       district court level must provide some solid justification for doing so. To
       determine whether this burden has been satisfied, judicial inquiry begins
       with the administrative record. Roland M. v. Concord School Committee,
       910 F.2d 993 (1st Cir. 1990).

       Further, the court in Roland M. held that:

        A district court should weigh heavily the important concerns of not
        allowing a party to undercut the statutory role of administrative expertise,
        the unfairness involved in one party’s reserving its best evidence for trial,
        the reason the witness did not testify at the administrative hearing, and
        the conservation of judicial resources. Id.

       See Burlington II, 736 F.2d at 790 (it is “an appropriate limit in many cases…to

disallow testimony for all who did, or could have, testified before the administrative

hearing”). In the absence of special circumstances, courts should ordinarily exercise that

discretion in favor of excluding the belatedly offered evidence. Id.



                                             8
     Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 9 of 12



        Given the hearing officer’s finding that East Longmeadow’s proposed 2014-2015

IEP was reasonably calculated to provide FAPE, the appropriateness of Anthony’s

placement at The Speech Academy was – and is – not even relevant to the BSEA

Decision denying retroactive reimbursement under the two-part test enunciated by the

Supreme Court in Florence County School Dist. Four v. Carter, 510 U.S. 7, 114 S.ct.

361, 126 L.Ed 2d 284 (1993).3            There are no “special circumstances” or “sound

justification” to introduce additional evidence here.

        Finally, the First Circuit in Lenn v. Portland School Committee, et al, 998 F.2d

1083 (1st Cir. 193) provided further guidance to the district court. The critical inquiry in

a case of this genre is “whether a proposed IEP is adequate and appropriate for a

particular child at a given point in time.” Burlington v. Department of Educ., 736 F.2d

773, 788 (1st Cir. 1984), aff’d, 471 U.S. 359, 105 S.Ct. 1996, 85 Led.2d 385 (1985).

        If the agency approves the IEP, the parent or guardian may seek further review in

either state or federal court. See Id. At §1415(e)(2). The relevant statutory provision

requires the forum court to mull the administrative record, take additional evidence under

certain circumstances, and “base[ ] its decision on the preponderance of the evidence.”

Id. While the IDEA envisions judicial review, the statute “is by no means an invitation to

the courts to substitute their own notions of sound educational policy for those of the

school authorities which they review.” Rowley, 458 U.S. at 206, 102 S.Ct. at 3051.

Rather, the law contemplates an intermediate standard of review on the trial-court level a

standard which, because it is characterized by independence of judgment, requires a more

critical appraisal of the agency determination than clear-error review entails, but which,


3
 School’s education program inappropriate; parent’s placement is appropriate. Florence County School
Dist. Four v. Carter, 510 U.S. 7, 114 S.ct. 361, 126 L.Ed 2d 284 (1993).


                                                 9
    Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 10 of 12



nevertheless, falls well short of complete de novo review. See Roland M., 910 F.2d at

989; Colin K. v. Schmidt, 715 F.2d 1, 5 (1st Cir. 1983).

       In the course of this independent review, the administrative proceedings must be

accorded “due weight.” Rowley, 458 U.S. at 206, 102 S.Ct. at 3051; see also Colin K.,

715 F.2d at 5. Although the exact quantum of weight is subject to the district judge’s

exercise of informed discretion, see Hampton, 976 F.2d at 52; G.D. v. Westmoreland Sch.

Dist., 930 F.ed 942, 946 (1st Cir. 1991), the judge is not at liberty either to turn a blind

eye to administrative findings or to discard them without sound reason. See Burlington,

736 F.2d at 792 (“The court, in recognition of the expertise of the administrative agency,

must consider the findings carefully and endeavor to respond to the hearing officer’s

resolution of each material issue.”). In the end, the judicial function at the trial-court

level is “one of involved oversight,” Roland M., 910 F.2d at 989.

       Determining the adequacy of an IEP is a fact-intensive exercise. Consistent with

this verity, the governing standard for appellate review in an IDEA case is firmly settled:

       [I]n the absence of a mistake of law, the court of appeals should accept a
       district court’s resolution of questions anent adequacy and appropriateness
       of an IEP so long as the court’s conclusion are not clearly erroneous on the
       record as a whole. Id, at 990-91.

The clear-error hurdle is, of course, quite high. See, e.g., Cumpiano v. Banco Santander

Puerto Rico, 902 F.2d 148, 152 (1st Cir. 1990) (holding that, under a regime of clear-error

review, an appellate court “ought not to upset findings of fact or conclusion drawn

therefrom unless, on the whole of the record, [the appellate judges] form a strong,

unyielding belief that a mistake has been made”).




                                             10
         Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 11 of 12



    2.     The Plaintiff had ample time in which to submit the proposed additional
           evidence prior to filing his request for judicial review with this honorable
           Court.

           Plaintiff brought his Hearing Request before the BSEA in full knowledge of the

chronology regarding due process hearings. If the Plaintiff wanted more time, he could

have waited to file the Hearing Request without any prejudice to the Student. The

Hearing was held in mid-October 2014, and the decision was rendered on December 18,

2014. Anthony had been attending The Speech Academy for more than three (3) months

at the time of the hearing. It has been less than one (1) year since the hearing was held.

           In the cases cited by the Plaintiff in support of his Motion, the decision to admit

additional evidence took place well after the original administrative hearing. In C.G. and

B.S. v. Five Town Community School District, et al., 513 F.3d 279 (2008), the

administrative hearing was held in 2005, three (3) years prior to the Appellate Court

decision. In Jean N. and Lee N. v. Tirozzi, et al., 17 ELHR 580 (D. Conn. 1991), the trial

was conducted well over two (2) years after the hearing.

           Finally, if Plaintiff is permitted to introduce additional evidence and testimony,

East Longmeadow requests the opportunity to submit rebuttal evidence on the issues

raised by Plaintiff’s witnesses, to wit: East Longmeadow would present two (2)

witnesses,4 one of whom did not testify at the administrative hearing, that, based upon

their direct observations of the Student in April 2015, the Student’s functional

communication skills have, in fact, regressed since June 2014. In a case cited by the

Plaintiff, Mr. and Mrs. I. v. Maine School Administrative District No. 55, 416 F.Supp.2d

147 (D. Me. 2006), one (1) of two (2) witnesses did not testify at the administrative



4
    Hillary Jillison, MS CCC-SLP, ATP, and Silvana Ayala, MS CCC-SLP.


                                                 11
    Case 3:15-cv-30029-MGM Document 31 Filed 07/17/15 Page 12 of 12



hearing but was allowed to testify before the Court.         Given this precedent, East

Longmeadow would expect the same consideration regarding its rebuttal witnesses.

       WHEREFORE, East Longmeadow respectfully requests that the Plaintiff’s

Motion for Leave to Supplement the Record with Additional Testimony and Exhibits be

denied. The Plaintiff has not presented sufficient justification to overturn the rebuttable

presumption that his witnesses were foreclosed from testifying at hearing.          In the

alternative, East Longmeadow respectfully requests that it be allowed to supplement the

Record by presenting witnesses in rebuttal of Plaintiff’s “new” testimony and exhibits.

                                     Respectfully submitted,

                                     EAST LONGMEADOW PUBLIC SCHOOLS

                                     By its attorney,



                                     /s/ Peter L. Smith________________________
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                                     East Longmeadow, MA 01028
                                     (413) 525-1136
                                     Fax (413) 525-4128
Date: July 17, 2015                  BBO# 542544


                            CERTIFICATE OF SERVICE

        I, Peter L. Smith, hereby certify that on July 17, 2015, this document was filed
through the Court’s ECF system and will be sent electronically to registered participants
as identified on the Notice of Electronic Filing (NEF), and that paper copies will be sent
to those indicated as non-registered participants by first class mail on July 17, 2015.



                                             /s/ Peter L. Smith ____________________
                                             Peter L. Smith




                                           12
